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 9                              IN THE UNITED STATES DISTRICT COURT
                                         DISTRICT OF ALASKA
10

11   CONTINENTAL INSURANCE COMPANY a,                IN ADMIRALTY
     corporation; STARR INDEMNITY &
12   LIABILITY COMPANY, a corporation;
     SUNDERLAND MARINE MUTUAL INS. CO., a            No.
13   corporation; Underwriters at LLOYD’S
     SYNDICATE WTK457, a marine insurance
14   syndicate organized in London, U.K.; THE
     NORTHERN ASSURANCE CO. OF AMERICA,
15   a corporation,
                                       Plaintiffs,
16          vs.                                      COMPLAINT FOR
                                                     DECLARATORY JUDGMENT
17
     OLSON MARINE, INC., an Alaska
18   corporation,
                                      Defendant.
19

20          COME     NOW      the   plaintiffs,   CONTINENTAL   INSURANCE   COMPANY;   STARR

21   INDEMNITY & LIABILITY COMPANY; SUNDERLAND MARINE MUTUAL INS. CO., LLOYD’S

22   SYNDICATE WTK457; THE NORTHERN ASSURANCE CO. OF AMERICA,                 and allege as

23   follows:

24

25   COMPLAINT FOR DECLARATORY JUDGMENT – 1
     Case No.:



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            1.       This is an admiralty and maritime claim within the meaning of Rule
 1
     9(h) of the Federal rules of Civil Procedure and this court has jurisdiction pursuant
 2
     to Title 28 U.S. Code, § 1333.
 3

 4          2.       Plaintiffs are engaged in the business of marine insurance.

 5          3.       Defendant OLSON MARINE, INC. is an Alaska Corporation engaged in

 6   the tug and barge business with offices at 5569 N. Tongass Hwy., Ketchikan,

 7   Alaska.

 8          4.       On or about December 8, 2010, Plaintiffs, for a good and valuable

 9   consideration issued a policy of marine insurance, No. FIS-10-052, affording Hull

10   and Machinery Coverage in the amount of $316,371, and subject to a deductible of

11   $15,000, on the Barge ALDER owned by Defendant and naming Defendant as
12   assured. The policy covered risks at and from October 20, 2010 until October 20,
13
     2011. A copy of the policy is attached hereto as Exhibit A.
14
            5.       On or about January 4, 2011 Defendant contracted with Alaska Ship
15
     and Drydock (“Alaska Ship”) for installation of a ramp on the ALDER to facilitate
16
     handling of cargo to and from the shore. Defendant and Alaska Ship agreed that
17
     Defendant would take full responsibility for any deficiencies in the ramp as designed
18
     and that Defendant would furnish the wire rope and sheaves for the ramp lifting
19
     mechanism. Defendant planned to use 1 ½” wire rope and sheaves to match.
20
            6.       Pursuant to the agreement with Defendant, Alaska Ship proceeded to
21
     build and install the ramp and its lifting mechanism and asked a professional
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     engineering firm, the Alton Bay Design Group (“Alton Bay”), to review the proposed
23

24   installation.

25   COMPLAINT FOR DECLARATORY JUDGMENT – 2
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           7.      On or about April 12, 2011, as the ramp installation was nearing
 1
     completion Alton Bay notified Defendant by telephone that the 1 ½ “ wire which
 2
     Defendant had proposed to use was insufficient for the anticipated loads and that a
 3

 4   higher safety factor was necessary. The next day, April 13, 2011, Alton Bay issued

 5   its drawing showing a minimum wire rope size of 2 ¼” and sent the drawing and

 6   subsequent revisions to Defendant. Defendant negligently directed Alaska Ship to

 7   install the 1 ½” wire in spite of the advice and specification from Alton Bay. The

 8   1 ½” wire was inadequate and presented a high risk of failure in normal operating

 9   conditions.

10         8.      On or about May 9, 2011, Defendant was operating the ALDER in the

11   vicinity of Tolstoi Bay, Alaska, under tow of Defendant’s Tug HARRIET in calm
12   weather at a moderate speed when the 1 ½” wire rope falls broke due to a strain
13
     beyond the strength of the wire, causing the ALDER’s ramp to break free and other
14
     damage.
15
           9.      On May 26, 2011, Defendant notified Plaintiffs of the casualty.
16
           10.     On June 23, 2011, after a preliminary investigation, Plaintiffs issued a
17
     reservation of rights to Defendant and continued their investigation.
18
           11.     Plaintiffs completed their investigation which has revealed the facts as
19
     set forth above.
20
           12.     The policy provides coverage for the following perils:
21
           PERILS
22         Touching the Adventures and Perils which the Underwriters are
           contented to bear and take upon themselves, they are of the Seas,
23
           Men-of War Fire, Lightning, Earthquake, Enemies, Pirates, Rovers,
24         Assailing Thieves, Jettisons, Letter of Mart and Counter-Mart,

25   COMPLAINT FOR DECLARATORY JUDGMENT – 3
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           Suprisals, Takings at Sea, Arrests, Restraints and Detainments of all
 1         Kings, Prices and Peoples, of what nation, condition or quality soever,
           Barratry of the Master and Mariners and of all other like Perils, Losses
 2         and Misfortunes that have or shall come to the Hurt, Detriment or
           Damage of the Vessel, or any part thereof, expecting, however, such
 3
           of the foregoing perils as may be excluded by provisions elsewhere in
 4         the Policy or by endorsement thereon.

 5         ADDITIONAL PERILS (INCHMAREE)
           Subject to the conditions of this Policy, this Insurance also covers loss
 6         of or damage to the Vessel directly caused by either:
           (a) breakdown of motor generators or other electrical machinery and
 7         electrical connections thereto, bursting of boilers, breakage of shafts,
           or any latent defect in the machinery or hull.
 8                                     or
           (b) other causes of whatsoever nature arising either on shore or
 9         otherwise provided the loss or damage arising from those causes set
           forth in either (a) or (b) has not resulted from want of due diligence by
10         the Assured, the Owners or Managers of the Vessel, or any of them.
           And as amended per Forms, Warranties and Special Conditions.
11
           13.      The events of the casualty do not constitute a covered loss within the
12
     meaning of the PERILS clause.
13

14         14.      The cause of the casualty was a breach of the Defendant’s implied

15   warranty of seaworthiness and breach of the terms of the ADDITIONAL PERILS

16   clause by Defendant’s lack of due diligence in disregarding the written design

17   criterion and the warning by Alton Bay engineers. Accordingly there is no coverage

18   for the casualty under the terms of the policy.

19         15.      Despite the lack of coverage Defendant has made demand on Plaintiffs

20   for the cost of anticipated repairs and for sue and labor in the total amount of

21   $301,972 and there remains a dispute between the parties and a justiciable
22   controversy.
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25   COMPLAINT FOR DECLARATORY JUDGMENT – 4
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           WHEREFORE, Plaintiffs demand judgment as follows:
 1
           1.      Declaring that Plaintiffs’ Hull and Machinery Policy FIS-10-052 affords
 2
     no coverage for the casualty of May 9, 2011;
 3

 4         2.      That Plaintiffs recover their costs; and

 5         3.      For such other relief as the Court may deem just.

 6   DATED this 28th day of September, 2011.

 7                                            MIKKELBORG, BROZ, WELLS & FRYER, PLLC

 8

 9                                              s/Jess G. Webster
                                              Jess G. Webster, ABA No. 8410088
10                                            Douglas M. Fryer
                                              Lafcadio H. Darling
11                                            Of Attorney for Plaintiffs

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     Case No.:



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